
Loew, J. (dissenting).
During the six years that I presided in one of the district courts, I uniformly held that those courts had no jurisdiction in actions against foreign corporations.
*365But when this case was heretofore before us, my colleagues (Chief Judge Daly and Judge Van Brunt) and I came to the conclusion, that we could hold that those courts have jurisdiction in such actions, without doing violence to those provisions of law, which it was claimed conferred such jurisdiction upon them.
Perhaps the fact that there are a great many foreign corporations doing business in this city, the clerks and agents of which, as also the large number of other persons who constantly have small claims against those corporations, are for obvious reasons practically remediless so far as enforcing their demands is concerned, unless those courts possess that jurisdiction, influenced us to a great extent in arriving at that conclusion.
Be that as it may, I was aware at that time of all that is now advanced and urged in order to show that they do not possess that jurisdiction, and it was for that reason that I expressed a doubt in the opinion delivered by me (see 39 How. Pr., 403) as to the correctness of our decision.
That doubt still remains, but it is not sufficiently strong to cause me to change the views I have heretofore expressed on the subject.
In view of all the circumstances respecting this case, and the fact that we have allowed appeals to the court of last resort in two other cases, involving or comprehending the same point, it seems to me we should adhere to our former decision, unless we are satisfied beyond all doubt that it was erroneous.
However, as the Chief Judge now agrees with Judge Robinson, that those courts do not possess the jurisdiction referred to, and that the judgment should be reversed, it is unnecessary for me to say anything further.
Judgment reversed.
